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 4   Telephone: (916) 554-2731
 5
 6                              IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                    )          CASE NO. CR.S-03-090 EJG
                                                  )
10                          Plaintiff,            )
                                                  )          MOTION TO DISMISS INDICTMENT
11          v.                                    )          AS TO DEFENDANT
                                                  )          ROBERTO AGUAYO-BRISENO;
12   ROBERTO AGUAYO-BRISENO,                      )          ORDER
                                                  )
13                          Defendant.            )
                                                  )
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15
            The United States hereby moves to dismiss the Indictment in this case against defendant
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     Roberto Aguayo-Briseno only. This defendant was one of ten persons named in the Indictment in this
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     case. He has been a fugitive since the case was indicted in 2003, is believed to be in Mexico (specific
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     place unknown), and the government has no plan to extradite him. Thus, it makes no sense to keep
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     the case open and the arrest warrant(s) outstanding. The motion is made pursuant to Rule 48(a),
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     F.R.Crim.P. It is also requested that any outstanding arrest warrant based on this Indictment or the
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     Complaint underlying the Indictment be withdrawn.
22
23   Dated: July 29, 2010
                                                  BENJAMIN B. WAGNER
24                                                U.S. Attorney
25
                                                  by       /s/ Richard J. Bender
26                                                         RICHARD J. BENDER
                                                           Assistant U.S. Attorney
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 1   (Motion to Dismiss Indictment as to Defendant Roberto Aguayo-Briseno - by USA)
 2
     IT IS SO ORDERED,
 3
     this 30th day of July, 2010.
 4
                                                       /s/ Edward J. Garcia
 5                                                             EDWARD J. GARCIA
                                                              Senior, U.S. District Judge
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